                                                           Case 1:16-cr-00371-RA Document 401-5 Filed 04/11/18 Page 1 of 8


Subject:   Re: Our nerds...love them
From:      Bevan Cooney <btcooney@gmail.com>
Sent:      Sat, 20 Jun 2015 10:37:00-0700
Cc:        "devon@burnhamequitypartners.com" <devon@burnhamequitypartners.com>
To:        jason gaianis <jason@holmbycompanies.com>

Have to love our Nerds!! Only tiling missing is booger and we have the Tri-Lambs!!


                                             ‘W8S«
                                            •,'•/' .‘kXS




Sent from my iPhone




       Menu
       Home
       News
        »Court Reports
        »Politics
        »Education
        »Environment
        »Health
        »Human Interest
       Sports
       Business
       Lifestyle
        »Style & Fashion
        »Carla Confidential
        »Best Mom Ever
       Faith
        »Maria Seaman
        »Church Announcements
       Opinion
        »Letters to the Editor
        »Opinion Writers
       Milestones
        »Obituaries
       Youth Spotlight                                                                                                                 GOVERNMENT
        »Zaire's Corner                                                                                                                  EXHIBIT
                                                                                                                                          2291
        »Eron Hill                                                                                                                       16 Cr. 371 (RA)

        »Destinee Taylor
  Confidential Material                                                                                                      SearchWarrant_v2_00018317
                                                        Case 1:16-cr-00371-RA Document 401-5 Filed 04/11/18 Page 2 of 8



     Gallery
     About Us
      »Contact Us
      »Advertising
      »Code of Practice
      »Terms & Conditions
           • H ome
           • News
                o Court Reports
                o Politics
                o Education
                o Environment
                o Health
                o Human.interest
           • Sports
           • Business

                              ° Style & Fashion
                              o Carla Confidential
                              o Best Mom Ever
                        • Faith
                              o Maria Seaman
                              o Church Announcements
                        • Opinion
                              o Letters to.the Editor
                              o Opinion Writers
                        • Milestones
                              o Obituaries
                        • Youth Spotlight
                              o Zaire's Corner
                              o Eron Hill
                              o Destinee Taylor
                        • Gallery
                        • About Us
                              o Contact Us
                              o Advertising
                              o Code of Practice
                              o Terms & Conditions

     Search...




     A+ A A
         zzzzzzzrzzz*   zzzzzzzrzzzzzzzz**




     Valor Group appoints Bermuda management team
       • 16Jun2015
       • Written by Press release
       • Published in Business
Confidential Material                                                                                                     SearchWarrant_v2_00018318
                            Case 1:16-cr-00371-RA Document 401-5 Filed 04/11/18 Page 3 of 8




           • Print

           • Add new comment

     From left, Louis Zuckerbraun, Karl Lupson, Mark
     Waddington and Michael Lima. *Photos supplied
     Valor Group Ltd. (“Valor Group”) (which recently
     acquired Bermuda International Insurance Services
     Limited, “Bermuda International” and merged it with
     VL Assurance (Bermuda) Ltd.) recently announced the
     appointment of its Bermuda management team.
     The Bermuda management team, through Valor
     Management Ltd. (“Valor Management”), will be
     responsible for the distribution, underwriting and
     administrative operations for VL Assurance (Bermuda)
     Ltd. as well as VL Assurance Inc. (a Barbados registered
     953d carrier).
     Louis Zuckerbraun has been appointed Chief Executive
     Officer and Michael Lima (formerly of Bermuda
     International) joins the company as General Manager
     and Executive Vice President. Karl Lupson, remains
     with the new organization and has been named as Chief
     Operating Officer and Mark Waddington has been
     appointed as Chief Financial Officer.
     Mr. Zuckerbraun is based in Zurich and Bermuda and
     was previously co-CEO of a Swiss life and annuity
     company, Zenith Vie, that provided traditional life,
Confidential Material                                                                         SearchWarrant_v2_00018319
                             Case 1:16-cr-00371-RA Document 401-5 Filed 04/11/18 Page 4 of 8




     savings and annuity products to Swiss and international
     clients. Prior to that, he was one of the founding partners
     of the Crown Global Group of Insurance Companies in
     Bermuda, Grand Cayman and Delaware and held the
     position of Managing Director. He is a former Partner of
     swisspartners Wealth Management, Zurich and a former
     Director of swisspartners Insurance Company, Grand
     Cayman. Mr. Zuckerbraun has also held positions at
     Transatlantic Re and Hannover Re.
    Mr. Lima is recognised globally as an expert in the
    international life insurance
    involved in the insurance ii
    Lima was instrumental in developing Sun Life
    Assurance Company of Canada’s international offshore
    programme as General Manger. In January 2005, he
    joined the BF&M Group in Bermuda and launched
    Bermuda International as the General Manager. Prior to
    joining Valor Management in March 2015, he decided to
    leverage his experience and knowledge to start his own
    consulting firm, Millennium International Insurance
    Consultants Limited in 2013.
     Mr. Lupson has more than 25 years of sales and
     marketing experience. He previously worked for Mutual
     Life of Canada, now Sun Life Financial, in various
     marketing positions. He has also worked for an
     American-based firm and resided in over 20 countries
     developing and launching proprietary loyalty and
     rewards programmes for luxury brand hotels. Prior to his
Confidential Material                                                                          Search Warrant_v2_00018320
                             Case 1:16-cr-00371-RA Document 401-5 Filed 04/11/18 Page 5 of 8




     transition to Valor Management, he worked for Bermuda
     International since 2006 and is based in Bermuda.
     Mr Waddington is based in Bermuda where he has spent
     more than 20 years in the insurance and reinsurance
     industry. Prior to joining Valor Management, Mr.
     Waddington spent the last 12 years with American
     International Company Ltd, a local subsidiary of AIG,
     primarily in the role of Director of Investment
     Accounting and Fund Administration before assuming
     the role of Associate Director of Risk Management for
     his last two years there.
     Louis Zuckerbraun, Chief Executive Officer, Valor
     Management, says:66We are excited about the
     acquisition of Bermuda International. With Valor
     Group’s US$6 billion assets under management, a
     financially secure parent company and experienced
     management team, we are well positioned to service our
     clients. Furthermore, we have developed an operational
     centre in Bermuda to provide administrative and
     underwriting support and will be adding significant
     resources in the areas of underwriting, marketing,
     products and industry experience that will position us
     well for future growth.”
     Valor Management is part of the Valor Group, a multi­
     billion dollar financial services group of companies that
     provide private placement insurance solutions for high
     net worth clients worldwide.

Confidential Material                                                                          SearchWarrant_v2_00018321
                                                               Case 1:16-cr-00371-RA Document 401-5 Filed 04/11/18 Page 6 of 8




                           Valor Group is a publicly traded company on the
                           Bermuda Stock Exchange under ticker WAH.BH. The
                           group includes insurance companies and other financial
                           institutions with licenses in Barbados, Liechtenstein,
                           Luxembourg, Ireland and now Bermuda.
                           Rate this item
                                 •   •   I




                           (0 votes)
                           Add comment

                           Do:
• Share your opinion
• Be respectful
• Give us feedback on our stories, photos and videos.

Don’t:
• Call anyone names
• Say anything libelous
• Say anything that risks prejudicing court proceedings
• Swear (or any variations on swearing)

Comments are moderated and will show up after they are approved.



Name (required)

E-mail (required, but will not display)

Website


2000 symbols left



Notify me of follow-up comments




A#’’«              A?•
    t uiuhttulitfuit i -




                Confidential Material                                                                                            Search Warrant_v2_00018322
                                                    Case 1:16-cr-00371-RA Document 401-5 Filed 04/11/18 Page 7 of 8


S end
Cancel

J Com men is




27°C

Hamilton
Partly Cloudy

Humidity: 70%

Wind: 9.66 km/h




Visuatecope




Subscribe to the Today in Bermuda daily newsletter
* indicates required
Email Address *
First Name
Last Name

               1. Most Popular
               2. Most Comments
               3. Latest

               • Accountant General’s Department is 2015 Corporate Blood Donor of the Year
               • Video: The Grind Off with Harlequins Rugby Players vs America's Cup Sailors
               • Ministerial statement: College to revert to charging full tuition this fall
               • Sandys assault victim remains in ICU
               • PLP letter to Governor regarding proposed changes to Criminal Code

               • Dr David Chapman: Carnival - empowerment or evil?
               • BEST MOM EVER: Janine Richardson.
               • BEST MOM EVER: Evelyn Hayward
               • Chris Famous: Bermuda rallies around The West Indies
               • Queen’s Birthday Honours List 2015

               • Video: The Grind Off with Harlequins Rugby Players vs America's Cup Sailors
               • Ministerial.statement: College to revert.to.charging full tuition this fall
               • Sandys assault victim remains in ICU
               • PLP letter to Governor regarding proposed changes to Criminal Code
               • Accountant General’s Department is 2015 Corporate Blood Donor of the Year




    Confidential Material                                                                                             Search Warrant_v2_00018323
                                              Case 1:16-cr-00371-RA Document 401-5 Filed 04/11/18 Page 8 of 8




                                                                                                                ;:;r :t:   ;r :t:   ;r :t:   ;r :t:   ;r :t:   ;r :t:   ;r :t:   ;r :t:   ;r :t:   ;r :t:   ;r :t:   ;r :t:   ;r :t:   ;r :t:   ;r :t:   ;r :t:   ;r :t:   ;r :t:   ;r :t:   ;r :t:   ;r :t:   ;r :t:   ;r :t:   ;r :t:   ;r :t:   ;r :t:   ;r :t:   ;r :t:   ;r :t:   ;r :t:   ;r :t:   ;r :t:   n::




     © Today In Bermuda

     Facebook Twitter Instagram Google+ RSS

     Current Time: 9:15 am
     j Current Date: Friday, 19 June 2015




Confidential Material                                                                                                                                                   Search Warrant_v2_00018324
